                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE
______________________________________________________________________________

CARLOS MOUNTS                                 )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )       Civil Action No. ________________
                                              )
JON BARRY & ASSOCIATES, INC.                  )       Jury Trial Demanded
d/b/a PARAGON REVENUE GROUP,                  )
                                              )
      Defendant.                              )


                                         COMPLAINT


                                       INTRODUCTION

1.    This action arises out of Defendant Jon Barry & Associates, Inc. d/b/a Paragon Revenue

      Group’s (Paragon) violations of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692

      et seq. (“FDCPA”), in its illegal efforts to collect a consumer debt.

                                JURISDICTION AND VENUE

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

3.    Venue is proper in this District because the acts and omissions occurred here and Plaintiff

      resides here.

                                            PARTIES

4.    Plaintiff Carlos Mounts (Plaintiff) is a natural person who resides in Jefferson County,

      Tennessee, and a “consumer” as defined by 15 U.S.C. § 1692a(3).

5.    Paragon is a “debt collector” as defined by 15 U.S.C. § 1692a(6).




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                          FAIR DEBT COLLECTION PRACTICES ACT

6.    The FDCPA is a federal statute which regulates debt collectors in the collection of

      consumer debts. See 15 U.S.C. §§ 1692 et seq.

7.    Congress passed the FDCPA because “[t]here is abundant evidence of the use of abusive,

      deceptive, and unfair debt collection practices by many debt collectors . . . , [e]xisting

      laws and procedures for redressing these injuries are inadequate to protect consumers . . .

      , and [m]eans other than misrepresentation or other abusive debt collection practices are

      available for the effective collection of debts.” 15 U.S.C. §§ 1692 (a), (b), and (c).

8.    The purpose of the FDCPA is “to eliminate abusive debt collection practices by debt

      collectors, to insure that those debt collectors who refrain from using abusive debt

      collection practices are not competitively disadvantaged, and to promote consistent State

      action to protect consumers against debt collection abuses.” 15 U.S.C. § 1692 (e).

9.    The Sixth Circuit reaffirmed in Stratton v. Portfolio Recovery Associates, LLC, 770 F.3d.

      443, 448-449 (6th Cir. 2014) that: ‘“The Fair Debt Collection Practices Act is an

      extraordinarily broad statute’ and must be construed accordingly. Frey v. Gangwish, 970

      F.2d 1516, 1521 (6th Cir. 1992)”; see also Currier v. First Resolution Inv. Corp., 762

      F.3d 529, 533 (6th Cir. 2014).

                                FACTUAL ALLEGATIONS

10.   Paragon has alleged Plaintiff incurred an obligation to pay money arising out of a

      transaction in which the money, property, insurance or services which are the subject of

      the transaction are primarily for personal, family or household purposes, and is therefore

      a “debt” as defined by 15 U.S.C. § 1692a(5), namely, a medical debt alleged to be owed

      to an entity named Jefferson Memorial Hospital (JMH).



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11.   After default, the alleged debt was assigned to Paragon for collection from Plaintiff.

12.   Paragon is regularly engaged in collection of consumer debts owed or due or asserted to

      be owed or due another, and incurred for personal, family or household purposes, and

      attempts to collect them by making telephone calls, sending collection letters, and credit

      reporting.

                                  Collection Communications

13.   A “communication” under the FDCPA means conveying the information regarding a debt

      directly or indirectly to any person through any medium. 15 U.S.C. § 1692a(2).

14.   On or about December 22, 2015, Paragon sent a form collection letter to Plaintiff that

      states Plaintiff owes $454.37 to JMH on account number 18426700 (collection letter).

      Copy filed as exhibit 1 this Complaint (hereinafter “Doc. 1-1”).

15.   The collection letter also states:

                                           FINAL NOTICE

              You have been previously notified of the outstanding balance on
              the above referenced account(s). Please contact our office.

              This communication is from a debt collector. This is an attempt to
              collect a debt and any information obtained will be used for that
              purpose.

                         $30.00 Service charge on all returned checks.

              ...

              This agency is licensed by the Tennessee Collection Service Board
              of the Department of Commerce and Insurance.

16.   Tennessee Code Annotated § 62-20-115 (b) states that it is a violation of the Tennessee

      Collection Service Act (TCSA) and the Tennessee Collection Service Board (Collection




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      Board) “may suspend, revoke or refuse to renew any license held under this chapter for

      any of the following causes:

      ...

             (2) Collecting or attempting to collect from the debtor any fee,
             commission or other compensation not provide by law for
             collection services rendered to a client, except that a collection
             service may recover from debtors reasonable charges imposed by
             banks for processing insufficient fund checks; provided, that the
             charges do not exceed nine dollars ($9.00) per check”.

17.   Paragon held a collection service license to collect debts on December 22, 2015 when it

      sent the collection letter to Plaintiff, and is subject to all requirements of the Tennessee

      Collection Service Act, Tenn. Code Ann. §§ 62-20-101, et seq., including the one that

      prohibits it from collecting or attempting to collect more than $9.00 for a returned check.

      See Doc. 1-1.

18.   By threatening to attempt to collect a $30.00 service charge on a returned check from

      Plaintiff when it is prohibited from collecting no more than $9.00 per returned check is

      the use by Paragon of a “false, deceptive, and misleading representation or means in

      connection with collection of any debt” in violation of 15 U.S.C. § 1692e, the “false

      representation of the character . . . or legal status of any debt”, in violation of 15 U.S.C. §

      1692e(2)(A), the “threat to take any action that cannot be legally taken”, in violation of

      15 U.S.C. § 1692e(5), the “use or distribution of any written communication which

      simulates or is falsely represented to be a document authorized, issued, or approved by

      any court, official, or agency of the United States or any State, or which creates a false

      impression as to its source, authorization, or approval”, in violation of 15 U.S.C. §

      1692e(9), the “use of any false representation or deceptive means to collect or attempt to

      collect any debt or to obtain information concerning a consumer”, in violation of 15


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      U.S.C. § 1692e(10), and the use of “unfair or unconscionable means to collect or attempt

      to collect any debt, in violation of 15 U.S.C. § 1692f.

                                           Summary

19.   Paragon’s above-detailed conduct in connection with collection of the debt was conduct in

      violation of numerous and multiple FDCPA provisions including, but not limited to the

      above-cited provisions.

                                      TRIAL BY JURY

20.   Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const. amend.

      7. Fed.R.Civ.P. 38.

                                   CAUSES OF ACTION

                                         COUNT I-VI.

        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

         15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(5), 1692e(9), 1692e(10), and 1692f

21.   Plaintiff incorporates by reference all the above paragraphs as though fully stated herein.

22.   The foregoing acts and omissions of Paragon constitute numerous and multiple FDCPA

      violations with respect to Plaintiff, including, but not limited to every one of the above-

      cited FDCPA provisions.

23.   Because of the FDCPA violations, Plaintiff is entitled to actual damages pursuant to 15

      U.S.C. § 1692k(a)(1), in an amount to be determined at trial by a jury; statutory damages

      of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and

      costs pursuant to 15 U.S.C. § 1692k(a)(3) from Paragon.

                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Paragon:



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                                            COUNT I-VI.

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

           15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(5), 1692e(9), 1692e(10), and 1692f

      •     for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Paragon

            and for Plaintiff, in an amount to be determined at trial by a jury;

      •     for an award of statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(A) in the

            amount of $1,000.00 against Paragon, and for Plaintiff;

      •     for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

            1692k(a)(3) against Paragon and for Plaintiff; and

      •     for such other and further relief, as may be just and proper.

12/20/16                                        Respectfully submitted,

                                                CARLOS MOUNTS


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